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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
               v.                          :      CRIMINAL NO. 23-cr-239 (CKK)
                                           :
ILYA LICHTENSTEIN, et al.,                 :
                                           :
                      Defendants.          :

                                           ORDER

         Upon consideration of the Government’s Second Motion for Extension of Time, it is

hereby

         ORDERED, that the deadline for the government’s consolidated response to the Court’s

February 10, 2025 Order and to the motions to intervene in the restitution proceeding filed by

third-party petitioners is continued from Friday, February 21, 2025 until 9:00 a.m. on Monday,

February 24, 2025.

Dated this _____ day of _________, 2025.




                                    _____________________________________________
                                    THE HONORABLE COLLEEN KOLLAR-KOTELLY
                                    UNITED STATES DISTRICT JUDGE
